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                            December 21, 2022

                            Patricia S. Connor
                            Clerk of the Court
                            United States Court of Appeals for the Fourth Circuit
                            1100 East Main Street, Suite 501
                            Richmond, VA 23219

                            Re: Barfield v. Cunningham, No. 21-6580
                                Rule 28(j) Citation of Supplemental Authority

                            Dear Ms. Connor:

                                  Plaintiff-Appellant respectfully advises the Court of
                            pertinent post-briefing authority. Pfaller v. Amonette,
  National Prison Project
  915 15th Street, NW       ---F.4th---, 2022 WL 17684802 (4th Cir. Dec. 15, 2022),
  7th floor
  Washington, DC 20005
                            considered a prison doctor’s failure to provide the plaintiff
  (202) 393-4930            with Hepatitis C (“HCV”) treatment. This precedent
  aclu.org
                            supports the following arguments:
  David C. Fathi
  Director
  Attorney at law*               1.    HCV is a serious medical need. See Op. Br. at 27;
                            Reply Br. at 10-11. 1 Pfaller reaffirmed that HCV meets
  *Not admitted in DC;
  practice limited to       Farmer’s objective prong. 2022 WL 17684802, at *6.
  federal courts

                                   2.   Qualified immunity is inappropriate for medical
                            providers who deny incarcerated patients HCV treatment.
                            See Reply Br. at 27. Pfaller rejected an “overly narrow
                            articulation” of the right at issue. 2022 WL 17684802, at *11.
                            The Court affirmed the denial of qualified immunity for
                            Pfaller’s treating physician, holding that he “was on notice at
                            all relevant times—late 2015 through 2018—that he could
                            not choose to delay or withhold treatment from Pfaller when
                            he knew it was medically necessary[.]” Id. Similarly here,
                            Defendants—particularly Mr. Barfield’s treating provider


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                             Page citations to briefing refer to the page numbers assigned by the
                            ECF system.
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                        Ms. Wilson—were on notice in 2020 that they could not deny
                        him treatment for his serious medical needs.

                              The Pfaller Court granted qualified immunity,
                        however, to the defendant doctor who implemented a
                        treatment prioritization policy because that policy may have
                        been “reasonable” in 2015. Pfaller, 2022 WL 17684802, at
                        *12-13. Those facts and rationale are not applicable here—
                        Defendants refused Mr. Barfield treatment in 2020 based on
                        a policy that denied all treatment to all HCV patients. See
                        Op. Br. at 17-18; 32-37; Reply Br. at 13-14.

                              3.    Self-serving affidavits by defendants are
                        insufficient to support summary judgment. See Op. Br. at 29;
                        Reply Br. at 11, 13, 16. In Pfaller, like here, the defendant
                        medical provider submitted a “self-serving” affidavit. 2022
                        WL 17684802, at *7. The Court declined to accept the
                        affidavit as fact because, like here, it was undermined by
                        other evidence in the record, and accepting it would require
                        a credibility determination, “which we are not permitted to
                        weigh at the summary-judgment stage.” Id. at *7-8.


                                                         Sincerely,

                                                         /s/ Jennifer A. Wedekind
                                                         Jennifer A. Wedekind


                        cc: J. Scott Kozacki, Esq. (via ECF)




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